                         CERTIFICATE OF SERVICE
         I HEREBY CERTIFY that on January 3, 2025, I caused copies of the

foregoing Limited Objection and Reservation of Rights to be served via the

Court’s CM/ECF System upon all parties who are registered to receive electronic

notice in this bankruptcy case and via electronic mail upon the following:

Name                     Email                              Representing
Frederick B. Rosner      rosner@teamrosner.com              Debtors
Zhao (Ruby) Liu          liu@teamrosner.com                 Debtors
A. Lee Hogewood III      a.lee.hogewoodiii@klgates.com      Purchaser
Matthew B. Goeller       matthew.goeller@klgates.com        Purchaser
Richard Schepacarter     Richard.Schepacarter@usdoj.gov     United States Trustee


Dated: January 3, 2025                 /s/ Adam Hiller
       Wilmington, Delaware           Adam Hiller (DE No. 4105)
                                      HILLER LAW, LLC
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